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                          UNITED STATES JUDICIAL PANEL ON
                             MULTIDISTRICT LITIGATION

 Johnson & Johnson Aerosol Sunscreen          :
 Marketing Sales Practices and Products       :                  MDL No. 3015
 Liability                                    :

                                CERTIFICATE OF SERVICE

       I, Seth A. Meyer, hereby certify that on this 11th day of August, 2021, a copy of Seth A.

Meyer’s Notice of Appearance on behalf of Plaintiffs Johanna Dominguez and Sharron Meijer

was filed electronically with the court’s ECF system which sends electronic notice to counsel.



 Dated: August 11, 2021                           /s/ Seth A. Meyer
